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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  )           Chapter 11
REPUBLIC METALS REFINING                                )
CORPORATION, et al.,1                                   )           Case No. 18-13359 (SHL)
                                                        )
                              Debtors.                  )           (Jointly Administered)
                                                        )


        ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM AND
            APPROVING THE FORM AND MANNER OF NOTICE THEREOF

             Upon the application of the above-captioned debtors and debtors in possession

    (collectively, the “Debtors”), for an order, pursuant to Federal Rule of Bankruptcy Procedure

    (“Bankruptcy Rule”) 3003(c)(3), fixing a deadline (the “Bar Date”) and establishing procedures

    for filing proofs of claim and approving the form and manner of service thereof, and it appearing

    that the relief requested is in the best interests of the Debtors, their estates, and creditors and that

    adequate notice has been given and that no further notice is necessary; and after due deliberation

    and good and sufficient cause appearing therefor, it is hereby

             ORDERED, that except as otherwise provided herein, all persons and entities, (including,

    without limitation, individuals, partnerships, corporations, joint ventures, trusts and governmental

    units) that assert a claim, as defined in Section 101(5) of the Bankruptcy Code, against the Debtors




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic
Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639), and
Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central,
Delegación Cuauhtémoc, Mexico DF 6000 (2942).


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 which arose on or prior to the filing of the Chapter 11 petitions on November 2, 2018 for Republic

 Metals Refining Corporation, Republic Metals Corporation, and Republic Carbon Company,

 LLC; and November 21, 2018 for Republic High Tech Metals, LLC, RMC Diamonds, LLC, J&L

 Republic, LLC, R&R Metals, LLC, Republic Metals Trading (Shanghai) Co., Ltd., and Republic

 Trans Mexico Metals, S.R.L. (the “Filing Dates”), shall file a roof of such claim so that it is

 received by Donlin, Recano & Company, Inc. (the "Claims and Noticing Agent") on or before 5:00

 p.m. Eastern Time on April 12, 2019; and it is further

             ORDERED, that notwithstanding any other provision hereof, Proofs of Claim filed by

 governmental units must be filed so that they are received by the Claims and Noticing Agent on

 or before 5:00 p.m. Eastern Time on May 20, 2019 (the date that is one hundred eighty (180)

 days after the date of the order for relief); and it is further

             ORDERED, that the following procedures for the filing of Proofs of Claim shall apply:

             (a)    Proofs of Claim must conform substantially to Official Bankruptcy Form No. 410;

             (b)    Each Proof of Claim, including supporting documentation, must be submitted so

                    that the Claims and Noticing Agent actually receives the Proof of Claim on or

                    before the applicable Bar Date by either: (i) electronically using the interface

                    available    on    the    Claims      and      Noticing   Agent's      website   at

                    https://www.donlinrecano.com/clients/rmetals/fileclaim or (ii) first-class U.S.

                    Mail, overnight mail, or other hand-delivery system, which Proof of Claim must

                    include an original signature, at one of the following addresses:




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If delivered by first-class U.S. mail:                    Donlin, Recano & Company, Inc.
                                                   Re: Republic Metals Refining Corporation, et al.
                                                                  P.O. Box 199043
                                                                Blythebourne Station
                                                                Brooklyn, NY 11219
If delivered by hand delivery or                          Donlin, Recano & Company, Inc.
overnight mail:                                    Re: Republic Metals Refining Corporation, et al.
                                                                 6201 15th Avenue
                                                                Brooklyn, NY 11219

             (c)    Proofs of Claim must (i) be signed; (ii) include supporting documentation (if

                    voluminous, attach a summary) or an explanation as to why documentation is not

                    available; (iii) be in the English language; and, (iv) be denominated in United

                    States currency;

             (d)    Proofs of Claim must specify by name and case number the Debtor against which

                    the claim is filed. A Proof of Claim submitted under Case No. 18-13359 or that

                    does not identify a Debtor will be deemed as submitted only against Republic

                    Metals Refining Corporation. A Proof of Claim that names a subsidiary Debtor

                    but is submitted under the Case No. 18-13359 will be treated as having been

                    submitted against the subsidiary Debtor with a notation that a discrepancy in the

                    submission exists. If the holder asserts a claim against more than one Debtor or

                    has claims against different Debtors, a separate Proof of Claim form must be filed

                    with respect to each Debtor;

             (e)    Parties who wish to receive proof of receipt of their Proofs of Claim from the

                    Claims and Noticing Agent must also include with their Proof of Claim a copy of

                    their Proof of Claim and a self-addressed, stamped envelope; and it is further

             ORDERED, Proofs of Claim need not be filed as to the following types of claims:




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     (a)     Any claim as to which the holder has already filed a Proof of Claim against the Debtors

             in the above-captioned case in a form substantially similar to Official Bankruptcy

             Form No. 410, so long as the claimant does not wish to assert such claim against a

             Debtor who was not named in the original claim, in which case another Proof of Claim

             must be filed;

     (b)     Any claim that is listed on the Schedules filed by the Debtors, provided that (i) the

             claim is not scheduled as “disputed”, “contingent” or “unliquidated”; and (ii) the

             claimant does not disagree with the amount, nature and priority of the claim as set forth

             in the Schedules; and (iii) the claimant does not dispute that the claim is an obligation

             of the specific Debtor against which the claim is listed in the Schedules;

     (c)     Any claim that heretofore has been allowed by Order of this Court;

     (d)     Any claim that has been paid in full by any of the Debtors;

     (e)     Any claim for which different specific deadlines have previously been fixed by this

             Court;

     (f)     Any claim by a Debtor against another Debtor, or any claim by any of the non-debtor

             subsidiaries of Republic Metals Refining Corporation having a claim against any of

             the Debtors;

     (g)     Any claim allowable under § 503(b) and § 507(a) (2) of the Bankruptcy Code as an

             expense of administration of the Debtor’s estate;

     (h)     Any current employee of the Debtors, if an order of this Court authorized the Debtors

             to honor such Claim in the ordinary course of business as a wage, commission, or

             benefit; provided, however, that a current employee must submit a Proof of Claim by

             the Bar Date for all other Claims arising before the Petition Dates, including Claims




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                for wrongful termination, discrimination, harassment, hostile work environment, and

                retaliation and Claims covered by the Debtors' workers' compensation insurance;

     (i)        Any current or former officer or director for indemnification, contribution, or

                reimbursement;

     (j)        Any entity that, as of the applicable Bar Date, is an affiliate (as defined in section

                101(2) of the Bankruptcy Code) of any Debtor; and

     (k)        Any person or entity holding a Claim solely against the Debtors' non-debtor affiliates;

                and it is further;

             ORDERED, that any person or entity that holds a claim that arises from the rejection of

 an executory contract or unexpired lease, as to which the order authorizing such rejection is dated

 on or before the date of entry of this Bar Date Order, must file a Proof of Claim based on such

 rejection on or before the Bar Date, and any person or entity that holds a claim that arises from

 the rejection of an executory contract or unexpired lease, as to which an order authorizing such

 rejection is dated after the date of entry of this Bar Date Order, must file a Proof of Claim on or

 before such date as the Court may fix in the applicable order authorizing such rejection. The

 Debtors will provide notice of the Rejection Bar Date to the contract or lease counterparty whose

 contract or lease is being rejected at the time the Debtors reject any executory contract or unexpired

 lease; and it is further

             ORDERED, that holders of equity interests in the Debtors need not file proofs of interest

 with respect to the ownership of such equity interest, provided, however, that if any such holder

 asserts a claim against the Debtors (including a claim relating to an equity interest or the purchase

 or sale of such equity interest), a Proof of such Claim must be filed on or prior to the Bar Date

 pursuant to the procedures set forth in this Bar Date Order; and it is further




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             ORDERED, that if the Debtors amend or supplement the Schedules subsequent to the

 date hereof, the Debtors shall give notice of any amendment or supplement to the holders of

 claims affected thereby, and such holders shall be afforded thirty (30) days from the date of such

 notice to file Proofs of Claim in respect of their claims and shall be given notice of such deadline;

 and it is further

             ORDERED, that nothing in this Bar Date Order shall prejudice the right of the Debtors

 or any other party in interest to dispute or assert offsets or defenses to any claim reflected in the

 Schedules; and it is further

             ORDERED, that pursuant to Bankruptcy Rule 3003(c)(2), all holders of claims that fail

 to comply with this Bar Date Order by timely filing a Proof of Claim in appropriate form shall

 not be treated as a creditor with respect to such claim for the purposes of voting and distribution;

 and it is further

             ORDERED, that a copy of the notice in the form annexed hereto as Exhibit A is approved

 and shall be deemed adequate and sufficient if served by first-class mail at least thirty-five (35)

 days prior to the Bar Date on:

             (a)    The United States Trustee;

             (b)    Counsel to the Creditors Committee and any other official committee formed in

                     the Chapter 11 cases;

             (c)    Counsel for Bank Hapoalim B.M. ("Hapoalim"), Mitsubishi International

                     Corporation ("Mitsubishi"), Coöperatieve Rabobank U.A., New York Branch

                     ("Rabobank"), Brown Brothers Harriman & Co. ("BBH"), ICBC Standard Bank

                     Plc ("ICBCS"), Techemet Metal Trading LLC ("Techemet"), Woodforest

                     National Bank ("Woodforest"), Bank Leumi USA ("Leumi") (Leumi, Rabobank,




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                    BBH, Hapoalim, Mitsubishi, ICBCS, Techemet, and Woodforest (collectively,

                    the "Senior Lenders");

              (d)   The Debtors' 30 largest unsecured creditors;

              (e)   All persons or entities that have requested notice of the proceedings in the Chapter

                    11 cases;

              (f)   All persons or entities that have filed claims;

              (g)   All creditors and other known holders of claims as of the date of this Bar Date

                    Order, including all persons or entities listed in the Schedules as holding claims;

             (h)    All parties to executory contracts and unexpired leases of the Debtors listed on the

                    Schedules at the addresses stated therein or as updated pursuant to a request by

                    the counterparty or by returned mail from the post office with a forwarding

                    address;

             (i)    The attorneys of record to all parties to pending litigation against the Debtors (as

                    of the date of the entry of this Bar Date Order);

              (j)   The Internal Revenue Service for the district in which the case is pending and, if

                    required by Bankruptcy Rule 2002(j), the Securities and Exchange Commission

                    and any other required governmental units (a list of such agencies is available

                    from the Office of the Clerk of the Court);

              (k)   All parties that have sent correspondence to the Court and are listed on the Court's

                    electronic docket (as of the date of the entry of the this Bar Date Order); and

              (l)   All parties who have filed a notice of appearance and request for service of papers

                    pursuant to Bankruptcy Rule 2002 (the "Notice Parties"); and




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             (m)    Such additional persons and entities as deemed appropriate by the Debtors; and it

                     is further

             ORDERED, that with regard to those holders of claims listed on the Schedules, the

 Debtors shall mail one or more proof of claim forms (as appropriate) substantially similar to the

 Proof of Claim form annexed to the application as Exhibit B, indicating on the form how the

 Debtors have scheduled such creditor’s claim in the Schedules (including the identity of the

 Debtor, the amount of the claim and whether the claim has been scheduled as contingent,

 unliquidated or disputed); and it is further

             ORDERED, that any person or entity who desires to rely on the Schedules will have the

 responsibility for determining that the claim is accurately listed in the Schedules; and it is further

             ORDERED, that the Debtors and their Claims and Noticing Agent are authorized and

 empowered to take such steps and perform such acts as may be necessary to implement and

 effectuate the terms of this Bar Date Order; and it is further

             ORDERED, that notice of the Motion as provided therein shall be deemed good and

 sufficient notice of such motion and the requirements of the local rules of this Court are satisfied

 by such notice; and it is further

             ORDERED, that notwithstanding anything to the contrary, the terms and conditions of

 this Order are immediately effective and enforceable upon its entry; and it is further

             ORDERED, that this Court retains jurisdiction with respect to all matters arising from or

 unrelated to the implementation of this Bar Date Order.

             ORDERED, that entry of this Bar Date Order is without prejudice to the right of the

 Debtors to seek a further order of this Court fixing a date by which holders of claims or interests




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 not subject to the Bar Date established herein must file such proofs of claim or interest or be barred

 from doing so.

Dated: New York, New York
       March 1, 2019
                                               /s/ Sean H. Lane___
                                               HONORABLE SEAN H. LANE
                                               UNITED STATES BANKRUPTCY JUDGE




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                                               EXHIBIT A
John E. Mitchell (Admitted Pro Hac Vice)                       Andrea S. Hartley (Admitted Pro Hac Vice)
Yelena Archiyan (Admitted in New York)                         Joanne Gelfand (Admitted in New York)
AKERMAN LLP                                                    Katherine C. Fackler (Admitted Pro Hac Vice)
2001 Ross Avenue, Ste. 3600                                    AKERMAN LLP
Dallas, TX 75201                                               98 Southeast Seventh Street, Ste. 1100
Tel.: (214) 720-4300                                           Miami, FL 33131
Fax: (214) 981-9339                                            Tel.: (305) 374-5600
                                                               Fax: (305) 374-5095
Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  )           Chapter 11
                                                        )
REPUBLIC METALS REFINING                                )
CORPORATION, et al.,1                                   )           Case No. 18-13359 (SHL)
                                                        )
                              Debtors.                  )
                                                        )           (Jointly Administered)

 NOTICE OF DEADLINE REQUIRING SUBMISSION OF PROOFS OF CLAIM ON OR
   BEFORE APRIL 12, 2019 AND RELATED PROCEDURES FOR SUBMITTING
     PROOFS OF CLAIM IN THE ABOVE-CAPTIONED CHAPTER 11 CASES

TO: ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST ANY DEBTOR
LISTED ON PAGE 2 OF THIS NOTICE IN THE ABOVE-CAPTIONED CHAPTER 11
CASES.

       The United States Bankruptcy Court for the Southern District of New York (the "Court")
has entered an order (the "Bar Date Order") establishing 5:00 p.m. Eastern Time on April 12,
2019 (the "Bar Date") as the last date for each person or entity2 (including individuals,

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
2
  As used herein, the term "entity" has the meaning given to it in section 101(15) of title 11 of the United States
Code (the "Bankruptcy Code"), and includes all persons, estates, trusts and the United States Trustee. Further, the
terms "person" and "governmental unit" have the meanings given to them in sections 101(41) and 101(27) of the
Bankruptcy Code, respectfully.


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partnerships, corporations, joint ventures, and trusts) to submit a Proof of Claim against any of
the Debtors listed below (collectively, the "Debtors"). A copy of the Bar Date Order, and any
exhibits thereto are available (i) at the Debtors' expense upon request to Donlin, Recano &
Company, Inc. (the "Claims and Noticing Agent" retained in the chapter 11 cases) by calling
(212) 771-1128, or (ii) for no charge by visiting the Claims and Noticing Agent's website at
https://www.donlinrecano.com/republicmetals, or (iii) for a fee via PACER by visiting
http://ecf.nysb.uscourts.gov.

        Except for those holders of the claims listed below that are specifically excluded from the
Bar Date submission requirement, the Bar Dates3 and the procedures set forth below for
submitting proofs of claim (each, a "Proof of Claim") apply to all Claims (defined below) against
the Debtors that arose prior to November 2, 2018 for Republic Metals Refining Corporation,
Republic Metals Corporation, and Republic Carbon Company, LLC; and November 21, 2018
for Republic High Tech Metals, LLC, RMC Diamonds, LLC, J&L Republic, LLC, R&R Metals,
LLC, Republic Metals Trading (Shanghai) Co., Ltd., and Republic Trans Mexico Metals, S.R.L.
(the "Petition Dates"), the dates on which the Debtors commenced cases under chapter 11 of the
United States Bankruptcy Code, including parties asserting Claims pursuant to section
503(b)(9) of the Bankruptcy Code (each, a "503(b)(9) Claim").4 In addition, governmental
units have until 5:00 p.m. Eastern Time on May 20, 2019 (the date that is 180 days after the
order for relief) to submit Proofs of Claim.

    A holder of a possible Claim against the Debtors should consult an attorney
    regarding any matters not covered by this notice, such as whether the holder should
    submit a Proof of Claim.

                                DEBTORS IN THE CHAPTER 11 CASES


                                                                 Federal Tax
                        Debtor Name                         Identification Number              Case Number
    Republic Metals Refining Corporation                         XX-XXXXXXX                      18-13359
    Republic Metals Corporation                                  XX-XXXXXXX                      18-13360
    Republic Carbon Company, LLC                                 XX-XXXXXXX                      18-13361
    Republic High Tech Metals, LLC                               XX-XXXXXXX                      18-13638
    RMC Diamonds, LLC                                            XX-XXXXXXX                      18-13639
    RMC2, LLC                                                    XX-XXXXXXX                      18-13641
    J & L Republic LLC                                           XX-XXXXXXX                      18-13642
    R & R Metals, LLC                                            XX-XXXXXXX                      18-13643
    Republic Trans Mexico Metals, S.R.L.                         XX-XXXXXXX                      18-13644
    Republic Metals Trading (Shanghai) Co., Ltd.                 XX-XXXXXXX                      18-13645




3
  Defined collectively as the Rejection Bar Date (further defined herein), the Bar Date, the Supplemental Bar Date
(further defined herein), and the Governmental Bar Date.
4
 "503(b)(9) Claims" are claims on account of goods received by a debtor within 20 days before the petition date,
where such goods were sold to the debtor in the ordinary course of such debtor's business. 11 U.S.C. § 503(b)(9).
503(b)(9) claims are subject to a separate motion and order, and have the same bar date of April 12, 2019.

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                        WHO MUST SUBMIT A PROOF OF CLAIM

       You MUST submit a Proof of Claim to vote in a chapter 11 plan filed by the Debtors or
to share in distributions from the Debtors' bankruptcy estates if you have a Claim that arose
before the Petition Dates and it is not one of the types of Claims described under the heading
"Who Need Not Submit a Proof of Claim" below. Claims based on acts or omissions of the
Debtors that occurred before the Petition Dates must be submitted on or prior to the applicable
Bar Date, even if such Claims are not now fixed, liquidated, or certain or did not mature or
become fixed, liquidated, or certain before the Petition Dates.

        Pursuant to section 101(5) of the Bankruptcy Code and as used in this notice, the word
"Claim" means: (a) a right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy
is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured. Further, claims include unsecured claims, secured claims, and priority claims.

                                      WHAT TO SUBMIT

       The Debtors are enclosing a Proof of Claim Form for use in the cases. If your Claim is
scheduled by the Debtors, the form also sets forth the amount of your Claim as scheduled by the
Debtors, the specific Debtor against which the Claim is scheduled, and whether the Claim is
scheduled as disputed, contingent, or unliquidated. You will receive a different Proof of Claim
Form for each Claim scheduled in your name by the Debtors. You may utilize the Proof of Claim
form(s) provided by the Debtors to submit your Claim.

        Your Proof of Claim Form must not contain complete social security numbers or
taxpayer identification numbers (only the last four digits), a complete birth date (only the year),
the name of a minor (only the minor's initials) or a financial account number (only the last four
digits of such financial account).

       Additional Proof of Claim forms may be obtained by contacting the Debtors' Claims and
Noticing Agent, Donlin, Recano & Company, Inc., by calling (212) 771-1128 and/or visiting the
Claims and Noticing Agent's website at: https://www.donlinrecano.com/republicmetals.

       The following procedures for the submission of Proofs of Claim against the Debtors in
the chapter 11 cases shall apply:

             a)   Each Proof of Claim must: (i) be written in English; (ii) include
                  a Claim amount denominated in United States dollars; (iii)
                  conform substantially with the Proof of Claim Form provided
                  by the Debtors or Official Form 410; (iv) be signed by the
                  claimant or by an authorized agent or legal representative of
                  the claimant; and (v) include supporting documentation unless
                  voluminous, in which case a summary must be attached or an
                  explanation provided as to why documentation is not available;

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             b)   Parties who wish to receive proof of receipt of their Proofs of
                  Claim from the Claims and Noticing Agent must also include
                  with their Proof of Claim a copy of their Proof of Claim and a
                  self-addressed, stamped envelope;

             c)   Each Proof of Claim must specify by name and case number
                  the Debtor against which the Claim is submitted. A Proof of
                  Claim submitted under Case No. 18-13359 or that does not
                  identify a Debtor will be deemed as submitted only against
                  Republic Metals Refining Corporation. A Proof of Claim that
                  names a subsidiary Debtor but is submitted under the Case No.
                  18-13359 will be treated as having been submitted against the
                  subsidiary Debtor with a notation that a discrepancy in the
                  submission exists;

             d)   If the holder asserts a Claim against more than one Debtor or
                  has Claims against different Debtors, a separate Proof of Claim
                  form must be submitted with respect to each Debtor;

             e)   Any person or entity (including, without limitation, individuals,
                  partnerships, corporations, joint ventures, trusts, and
                  Governmental Units) that asserts a claim that arises from the
                  rejection of an executory contract or unexpired lease must file a
                  Proof of Claim based on such rejection by the later of (i) the
                  applicable Bar Date and (ii) the date that is thirty (30) days
                  following the entry of the Court order approving such rejection,
                  or be forever barred from doing so;

             f)   Notwithstanding the foregoing, a party to an executory contract
                  or unexpired lease that asserts a claim on account of unpaid
                  amounts accrued and outstanding as of the Petition Dates
                  pursuant to such executory contract or unexpired lease (other
                  than a rejection damages claim) must file a Proof of Claim for
                  such amounts on or before the applicable Bar Date unless an
                  exception identified under the heading "Who Need Not Submit
                  a Proof of Claim" applies;

             g)   In the event that the Debtors amend or supplement their
                  Schedules subsequent to the date of entry of the Proposed
                  Order, the Debtors shall give notice of any amendment or
                  supplement to the holders of claims affected thereby, and such
                  holders shall have until the later of (i) the applicable Bar Date
                  and (ii) thirty (30) days from the date of such notice to file a
                  Proof of Claim or be barred from doing so; and



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             h)     Receipt of Service. Any claimant wishing to receive
                    acknowledgment that Donlin Recano received its Proof of
                    Claim must submit (i) a copy of the Proof of Claim Form (in
                    addition to the original Proof of Claim Form sent to Donlin
                    Recano) and (ii) a self-addressed, stamped envelope.

                                WHEN AND WHERE TO SUBMIT

       Each Proof of Claim, including supporting documentation, must be submitted so that the
Claims and Noticing Agent actually receives the Proof of Claim on or before the applicable Bar
Date by either: (i) electronically using the interface available on the Claims and Noticing Agent's
website at https://www.donlinrecano.com/clients/rmetals/fileclaim, or (ii) first-class U.S. Mail,
overnight mail, or other hand-delivery system, which Proof of Claim must include an original
signature, at one of the following addresses:

             If delivered by                Donlin, Recano & Company, Inc.
             first-class U.S.        Re: Republic Metals Refining Corporation, et al.
             mail:                                  P.O. Box 199043
                                                  Blythebourne Station
                                                  Brooklyn, NY 11219
             If delivered by                Donlin, Recano & Company, Inc.
             hand delivery or        Re: Republic Metals Refining Corporation, et al.
             overnight mail:                       6201 15th Avenue
                                                  Brooklyn, NY 11219

 PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR ELECTRONIC MAIL WILL
    NOT BE ACCEPTED AND WILL NOT BE DEEMED TIMELY SUBMITTED.

                        WHO NEED NOT SUBMIT A PROOF OF CLAIM

         You do not need to submit a Proof of Claim on or prior to the Bar Date if you are:

             a)     any person or entity that has already submitted a Proof of
                    Claim against the Debtors with the Clerk of this Court or the
                    Debtors' Claims and Noticing Agent in a form substantially
                    similar to Official Bankruptcy Form No. 410;

             b)     any person or entity whose Claim is listed on the Schedules
                    filed by the Debtors; provided that (i) the Claim is not
                    scheduled as "disputed," "contingent," or "unliquidated"; (ii)
                    the claimant agrees with the amount, nature and priority of the
                    Claim as set forth in the Schedules; and (iii) the claimant does
                    not dispute that the Claim is an obligation of the specific
                    Debtor against which the Claim is listed on the Schedules;

             c)     any holder of a Claim previously allowed by order of this
                    Court;

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             d)   any holder of a Claim that has already been paid in full;

             e)   any holder of a Claim for which a specific deadline has
                  previously been fixed by this Court or otherwise fixed pursuant
                  to the Bar Date Order;

             f)   any Debtor having a Claim against another Debtor in these
                  chapter 11 cases;

             g)   any holder of a claim allowable under sections 503(b) and
                  507(a)(2) of the Bankruptcy Code as an administrative expense
                  (other than a holder of Section 503(b)(9) claim which is
                  subject to the same bar date of April 12, 2019 to file a Proof of
                  503(b)(9) Claim);

             h)   any current employee of the Debtors, if an order of this Court
                  authorized the Debtors to honor such Claim in the ordinary
                  course of business as a wage, commission, or benefit; provided,
                  however, that a current employee must submit a Proof of Claim
                  by the Bar Date for all other Claims arising before the Petition
                  Dates, including Claims for wrongful termination,
                  discrimination, harassment, hostile work environment, and
                  retaliation and Claims covered by the Debtors' workers'
                  compensation insurance;

             i)   any current or former officer or director for indemnification,
                  contribution, or reimbursement;

             j)   any entity that, as of the applicable Bar Date, is an affiliate (as
                  defined in section 101(2) of the Bankruptcy Code) of any
                  Debtor; and

             k)   any person or entity holding a Claim solely against the Debtors'
                  non-debtor affiliates.




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  THIS NOTICE IS BEING SENT TO MANY PERSONS AND ENTITIES THAT HAVE
  HAD SOME RELATIONSHIP WITH OR HAVE DONE BUSINESS WITH THE
  DEBTORS BUT MAY NOT HAVE AN UNPAID CLAIM AGAINST THE DEBTORS.
  THE FACT THAT YOU HAVE RECEIVED THIS NOTICE DOES NOT MEAN THAT
  YOU HAVE A CLAIM OR THAT THE DEBTORS OR THIS COURT BELIEVE THAT
  YOU HAVE ANY CLAIM.

                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        If you have a Claim arising from the rejection of an executory contract or unexpired
lease, you must submit your Proof of Claim based on such rejection on or before the later of (a)
the Bar Date and (b) any date this Court may fix in the applicable order authorizing such
rejection and, if no such date is provided, 30 days from the date of entry of such order, (the
"Rejection Bar Date") or you will be forever barred from doing so. The Debtors will provide
notice of the Rejection Bar Date to the contract or lease counterparty whose contract or lease is
being rejected at the time the Debtors reject any executory contract or unexpired lease.

                               SUPPLEMENTAL BAR DATE

        In the event the Debtors amend or supplement their Schedules, the Debtors shall give
notice of any such amendment to the holders of any Claim affected thereby, and such holders
shall be afforded at least 35 days from the date on which such notice is given to submit a Proof
of Claim with respect to such amended Claim (any such date, a "Supplemental Bar Date") or be
forever barred from doing so.

                THE DEBTORS' SCHEDULES AND ACCESS THERETO

       You may be listed as the holder of a Claim against one or more of the Debtors in the
Debtors' Schedules of Assets and Liabilities and/or Schedules of Executory Contracts and
Unexpired Leases (collectively, the "Schedules").

        Copies of the Debtors' Schedules are available: (a) from the Claims and Noticing Agent
by calling (212) 771-1128 and/or visiting the Claims and Noticing Agent's website at:
https://www.donlinrecano.com/republicmetals; (b) by written request to Debtors' counsel at the
address and telephone number set forth below; and/or (c) for inspection on this Court's Internet
Website at http://ecf.nysb.uscourts.gov. A login and password to this Court's Public Access to
Electronic Court Records are required to access this information and can be obtained at
http://www.pacer.psc.uscourts.gov. Copies of the Schedules may also be examined between the
hours of 9:00 a.m. and 4:00 p.m., Monday through Friday, at the Office of the Clerk of the
Bankruptcy Court, One Bowling Green, New York, New York 10004-1408.

        To determine if and how you are listed on the Schedules, please refer to the descriptions
set forth on the enclosed Proof of Claim Forms regarding the nature, amount, and classification
of your Claim(s). If the Debtors believe that you hold Claims against more than one Debtor, you



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will receive multiple Proof of Claim forms, each of which will reflect the nature and amount of
your Claim listed in the Schedules.

        If you rely on the Debtors' Schedules, it is your responsibility to determine that the Claim
is accurately listed in the Schedules; however, you may rely on the enclosed Proof of Claim
Form, which lists your Claim as scheduled, identifies the Debtor against which it is scheduled,
and specifies whether the Claim is disputed, contingent, or unliquidated.
        As set forth above, if you agree with the nature, amount, and classification of your Claim
as listed in the Debtors' Schedules, and if you do not dispute that your Claim is only against the
Debtor specified by the Debtors, and if your Claim is not described as "disputed," "contingent,"
or "unliquidated," you need not submit a Proof of Claim. Otherwise, or if you decide to submit
a Proof of Claim, you must do so before the applicable Bar Date in accordance with the
procedures set forth in this notice.

                                 RESERVATION OF RIGHTS

       Nothing contained in this Bar Date Notice is intended, or should be construed, as a
waiver of the Debtors' right to: (a) dispute, or assert offsets or defenses against, any submitted
Proof of Claim or any claim listed or reflected in the Schedules as to the nature, amount, liability,
or classification of such claims; (b) subsequently designate any scheduled claim as disputed,
contingent, or unliquidated; and (c) otherwise amend or supplement the Schedules.


                    CONSEQUENCES OF FAILURE TO SUBMIT A
                  PROOF OF CLAIM BY THE APPLICABLE BAR DATE

     ANY HOLDER OF A CLAIM THAT IS NOT LISTED IN THIS NOTICE AS A
PARTY EXCEPTED FROM THE REQUIREMENTS OF THE BAR DATE ORDER AND
THAT FAILS TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE
FORM WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM (1)
ASSERTING SUCH CLAIM AGAINST THE DEBTORS AND THEIR CHAPTER 11
ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN OF REORGANIZATION FILED IN
THESE CASES ON ACCOUNT OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY
DISTRIBUTION IN THE DEBTORS' CHAPTER 11 CASES ON ACCOUNT OF SUCH
CLAIM.



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Dated: ________________, 2019                     BY ORDER OF THE COURT

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                                                                   -and-

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